Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 1 of 44

From: Weinstein, Marc A.

To: Joseph LoPiccolo; McGoey, John

Cc Maquire, Bill; Oxford, Neil; Danieila Dalia; Anthony Almeida; John N. Poulos
Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass
Date: Friday, Marchi 25, 2022 21:33:45 AM

Attachments: image001.png

Joe, SKAT is still interested in settlement discussions. We are doing our best to have all settlement
overtures considered and responded to as soon as possible, but | can’t put a specific date on
responses.

Marc A. Weinstein | Partner
Chair, White Callar Defense

Hughes Hubbard & Reed LLP
One Battery Park Plaza, 17th floor | New York | NY 16004-1482
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mare. weinstein@hugheshubbard.com

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should net

From: Joseph LoPiccole <lopiccolo@pilawfirm.com>

Sent: Tuesday, March 22, 2022 4:26 PM

To: McGoey, John <john.mcgoey@hugheshubbard.com>; Weinstein, Marc A.
<marc.weinstein@hugheshubbard.com>

Cc: Maguire, Bill <bill maguire@hugheshubbard.com>; Oxford, Neil
<neil.oxford@hugheshubbard.com>; Daniella Dalia <ddalia@pllawfirm.com>; Anthony Almeida
<almeida@ pllawfirm.com>; John N. Poulos <poulos@pllawfirm.com>

Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATIGN - SKAT - Mitch Protass

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Marc - [s SKAT still interested in settlement? We are now going on 2 % months since we sent you
financial packages for Protass and Kertilits and almost 34 months since we sent you Mr. Petkov’s
financial package and offer.

When can we expect any sort of response?

Joseph LoPiccolo | Shareholder

Poulos LoPiccolo PC

311 West 43 Street, Ste 124 | New York, NY 40036

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Page 001
Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 2 of 44

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From: Joseph LoPiccolo

Sent: Friday, March 11, 2022 4:47 PM

Ta: McGoey, John <jobn. mcgoey@hugheshubbard.com>; Weinstein, Marc A.
<marc.weinstein@hugheshubbard.com>

Cc: Maguire, Bill <b maguire@hugheshubbard.com>; Oxford, Neil
<neiloxtord@hugheshubbard.com>; Daniella Dalia <ddalia@pllawfirrn.com>; Anthony Almeida
<almeida@ollawfirm.com>; John N. Poulos <poulos@pllawfirm.com>

Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

John ~ We sent you separate offers for each of our clients. Mitch has 2 stand alone cases that don’t
include any other defendants. Tom has 1 standalone case that doesn’t include any other
defendants. Thus, | really don’t understand what you mean by “overall approach to such offers on a
poing-forward basis.”

It has now been 2 months since they each provided you their financial transparency packages, While
we appreciate SKAT giving these settlements a great deal of consideration, we are having trouble
understanding why it takes months to get a response to an offer for one case involving one
defendant. SKAT’s long delays just cause our clients to incur more and more fees they can’t afford.

What does “additional time” mean?

Joseph LoPiccalo | Sharcholter

Poulos LoPiccolo PC

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Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 3 of 44

From: McGoey, John <john.mcgcey@hugheshubbard.com>
Sent: Thursday, March 10, 2022 10:25 PM
To: Joseph LoPiccolo <lopiccolo@pllawfirm.com>; Weinstein, Marc A.

<marc.weinstein @hugheshubbard.com>

Cc: Maguire, Bill <bill maguire@hugneshubbard,com>; Oxford, Neil
<neiloxford@hugheshubbard.com>; Daniella Dalia <ddalia@pllawfirm.com>; Anthony Almeida
<almeida@pllawfirm. com>; John N. Poulos <powlos@pllawfirm.com>

Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

Joe,

SKAT has been giving 4 great deal of consideration to these settlement offers and its overalf approach to such
offers on a going-forward basis. We will therefore need some additional time before presenting counter-offers.

Thanks,
John

John McGoey | Counsel

Hughes Hubbard & Reed LLP
One Battery Park Plaza, 16th floor | New York | NY 10004-1482
Office +1 (212) 837-6776 | Cell +1 (917) 714-4796 | Fax +1 (212) 299-6776

john. meqoey@hugheshubbard.com | bio

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From: Joseph LoPiccolo <lopiccoio@ pilawfirm.com>

Sent: Thursday, March 16, 2022 9:09 PM

To: McGoey, John <iohn.mcgoey@hugheshubbard.com>; Weinstein, Marc A.

<mare,. weinstein@hugheshubbard.com>

Ce: Maguire, Bitl <bill maguire @hugheshubbard.com>; Oxford, Neil
<neil.oxford@nugheshubbard.com>; Daniella Dalia <dcalia@pllawfirm.com>; Anthony Almeida
<almeida@pllawtirm.com>; John N. Poulos <poulos@pllawfirm.com>

Subject: Re: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

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John - tomorrow is the end of the week. I’m assuming we'll have counteroffers from SKAT
tomorrow?

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Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 4 of 44

Joseph LoPiccolo /{ Shareholder

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On Mar 3, 2022, at 11:15 AM, Joseph LoPiccolo <lopiccolo@pliawfirm.com> wrote:

What about Svetlin Petkov? It has now been a month since Marc said you can move
forward with your client with Svetlin’s updated settlement proposal.

Joseph LoPiccolo | Sharcholder

Poulas LoPiccala PC

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From: McGoey, John <john.mcgoey@hugheshubbard.com>

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Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 5of 44

Sent: Wednesday, March 2, 2022 9:37 PM

To: Joseph LoPiccolo <lopiccoig@pilawfirm.com>; Weinstein, Marc A.

<marc. weinstein@hugheshubbard.com>

Cc: Maguire, Bill <bill. maguire@hugheshubbard.com>; Oxford, Neil
<neiloxford@hugheshubbard com>; Daniella Dalia <ddalia@pilawfirm.com>; Anthony
Almeida <almeida@pllawfirm.com>; John N. Poulos <poulos@pllawfirm.com>
Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

Joe,
We expect to provide counteroffers for both Messrs. Protass and Kertelits next week.

Thanks,
John

John McGoey | Counsel

Hughes Hubbard & Reed LLP
One Battery Park Plaza, iGth floor | New York | NY 10004-1482
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john. meqoey@hugheshubbard.com | bio

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From: Joseph LoPiccolo <lopiccolo@pllawfirm.com>
Sent: Tuesday, March 1, 2022 11:43 AM
To: McGoey, John <john.mcgoey@hugheshubbard.com>; Weinstein, Marc A.

<marc.weinstein@hugheshubbard.com>
Cc: Maguire, Bill <bilL maguire@hugheshubbard.com>; Oxford, Neil
<neilLoxford@hugheshubbard.com>; Daniella Dalia <ddalia@nllawfirm.com>; Anthony

Almeida <almeida@pllawfirm.cam>; john N. Poulos <poulos@ollawfirm.com>
Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

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Marc/iohn — we are now approaching a month since we responded to your follow-up
questions and almost 2 months since we first sent you all the financial documents you
requested. When can we expect a response?

We can’t continue with the passing of months to get a response to our offers. Our

clients engaged in negotiations because they want to stop the bleeding and put this
MDL behind them. Mr. Protass’s initial offer letter was sent in 2020, Same with Mr.

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Kertetits’s offer. We continue to follow up and after numerous follow ups, you finally
respond with a request for additional very basic information. For instance, we
provided you Mr. Kertelits’s financial information on January 13. | followed up an
February 3. No response. | followed up again on February 8. No response. | followed
up again on February 14. No response. On February 17, you then, for the first time,
requested the address of his 2 homes and when they were purchased. This is
completely unreasonable. Again, this is exactly why | suggested mediation. Without
control dates set by a mediator or Judge, it appears SKAT doesn’t view these cases as a
priority.

If we don’t have responses by close of business Thursday, we will request Judge Kaplan
order mediation.

Joe

Joseph LoPiceolo {| Sharcholder

Poulos LoPiccoie PC

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From: Joseph LoPiccolo

Sent: Friday, February 4, 2022 12:01 PM

To: McGoey, John <john.mcgoey@hugheshubbard.com>; Daniella Dalia
<ddalia@pilawfirm.com>; Anthony Almeica <aimeida@pllawfirm.com>; John N. Poulos
<poulos@pllawfirm.cam>

Ce: Maguire, Bill <bill maguire@nhugheshubbard.com>; Weinstein, Mare A.
<marc.weinstein@hugheshubbard.com>; Oxford, Neil

<neil .oxford@hugheshubbard com>

Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

John — see responses in red below.

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Joseph LoPiccolo | Sharehokter

Poulos LoPiccela PC

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Toll Free +1 800.757.2304 | lopiccolo@pilawliim.com | www.pllawfirm.com

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From: McGoey, John <john.mcgoey@hugheshubbard.com>

Sent: Thursday, February 3, 2072 3:46 PM

To: Joseph LoPiccolo <lopiccolo@pliawfirm.com>; Daniella Dalia
<ddalia@pllawfirm.com>; Anthony Almeida <almeida@pllawfirm.com>; John N. Poulos

<poulos@ pllawfirm.com>
Cc: Maguire, Bill <bill maguire@hugheshubbard.com>; Weinstein, Marc A.

<marc.weinstein@hugheshubbard.com>; Oxford, Neil
<neil.oxford@hugheshubbard.com>
Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

Hi all,

Here are the questions we had regarding Mr. Protass’s financial package:

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Thanks,
John

John McGoey | Counsel

Hughes Hubbard & Reed LLP
One Battery Park Plaza, 16th floor| New York | NY 16004-1482
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john meqoey@hugheshubbard.com | big

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From: Weinstein, Marc A. <marc.weinstein@hugheshubbard. com>
Sent: Thursday, February 3, 2022 11:23 AM
Ta: Joseph LoPiccolo <igopiccolo@pllawfirm.com>

Cc: Oxford, Neil <neiLoxford@hugheshubbard. com>; McGoey, John
<john. mcegoey @hugheshubbard.com>; Maguire, Bill

<bill. maguire@hugheshubbard.com>; John N. Poulos <poulos@pllawfirm.com>;
Anthony Almeida <almeida@opllawfirm.com>; Daniella Dalia <ddalia@pllawfirm.com>
Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

Joe, | believe John will be sending some follow up questions for you today.

Marc A. Weinstein | Partner
Chair, White Collar Defensa

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marc.weinstein@hugheshubbard.com

From: Joseph LaPiccoio <lepiccolo@pllawfirm.com>

Sent: Thursday, February 3, 2022 10:19 AM

To: Weinstein, Marc A. <marc.weinstein@hugheshubbard. com>

Ce: Oxford, Neil <neilLoxford@hugheshubbarc.com>; McGoey, John
<john.mcgoey @hugheshubbard.com>; Maguire, Bill

<bill maguire@hugheshubbard. com>; John N. Poulos <poulos@ pllawfirm.com>;

Anthony Almeida <almeida@pllawfirm.com>; Daniella Dalia <ddalia@ pllawfirm.cam>
Subject: RE: F.R.£. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

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Marc — any response here?

Joseph LoPiccolo | Shareholder

Poulos LoPiceolo PC

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From: Joseph LoPiccolo

Sent: Wednesday, January 12, 2022 7:22 PM

To: 'Weinstein, Marc A.’ <marc. weinstein@hugheshubbard.com>

Cc: Oxford, Neil <neiLoxford@hugheshubbard com>; McGoey, John

<john. megoey@hugheshubbard.com>: Maguire, Bill

<bill. maguire @hugheshubbard. com>: John N. Poulos <poulos@pllawfirm.com>;
Anthony Almeida <almeida@pllawfirm.com>; Daniella Dalia <ddalia@pllawfirm.com>
Subject: RE: F.R.£. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

Marc,

Attached is the financial transparency package for Mitch and Maryanne Protass.

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Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 10 of 44

as a result of being named in this action. As for damages, it can easily be argued
that the Protass family has suffered more proportionately than SKAT, having their
lives turned upside down with msurmountable debt and unknowing outcome of
this enormous action they are stuck in by virtue of proximity. For instance, Mitch
completed his Certified Financial Planner (CFP) professional exam in 2021, but
the CFP Board will not permit the use of the designation until these claims have
been resolved. He will not be considered for promotion and must continue to
report to his compliance officer fearing that at ary point he will lose his

job. Likewise, as a result of the specific allegations of the claims, Mr. and Mrs.
Protass cannot obtain life insurance to protect their family. As mentioned, they
are unable to obtain a mortgage as no lender will consider their application with
these allegations pending. The Protasses have certainly suffered for many years
here for what they believed was a legitimate investment.

Accordingly, with these additional facts and their financial transparency package,
we now hope SKAT would seriously consider Mr. and Mrs. Protass’s latest offer
to settle all claims against Mitch Protass and his pension plans and any potential
claims against Maryann Protass Sn which is more than they actually
received from the scheme.

Thanks,

Joe

Joseph LoPiccolo | Sharcholder

Poulos LoPiccole PC

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Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 11 of 44

From: Weinstein, Marc A. <marc.weinstein@hugheshubbard.com>

Sent: Friday, January 7, 2022 12:13 PM

Ta: Jaseph LoPiccola <lopiccolo@pilawfirm.com>

Ce: Oxford, Neil <neil.oxford@hugheshubbard.com>; McGoey, John
<john.mcgoey@hugheshubbard.com>; Maguire, Bill

<bill maguire@hugheshubbard.com>: John N. Poulos <poulos@pllawfirm.com>:
Anthony Almeida <almeida@pllawfirm.com>; Daniella Dalia <ddalia@pllawfirm.com>
Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

Thanks Joe. Yes, we can put off the responses.

Marc A. Weinstein | Partner
Chair, White Collar Defense

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From: Joseph LoPiccolo <lopiccolo@ pllawfirm.com>

Sent: Friday, January 7, 202? 11:57 AM

To: Weinstein, Marc A. <marc.weinstein@hugheshubbard. com>
Ce: Oxford, Neil <neil.oxford@hugheshubbard. com>; McGoey, John

<john. mcgoey@hugheshubbard com>; Maguire, Bill

<bill maguire @hugheshubbard. com>; John N. Poulos <poulos@pllawfirm.com>;
Anthony Almeida <almeida@pilawfirm.com>; Daniella Dalia <ddalia@pllawfirm.com>
Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

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Mare —| spoke to our clients. Both Mr. Protass and Mr. Kertelits are gathering their
financials and we plan to have ther to you by early next week. Can we put off
responses to the interrogatories and requests for admission?

Best,

Page 011
Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 12 of 44

Joe

Joseph LoPiccola | Shareholder

Powos LoPiccolo PC

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From: Weinstein, Marc A. <marc.weinstein@hugheshubbard. com>
Sent: Thursday, January 6, 2022 3:19PM

To: Joseph LoPiccolo <lopiccolo@ pllawfirm.com>

Ce: Oxford, Neil <neiloxford@hugheshubbard.com>; McGoey, John

<john. mcgoey@hugheshubbard.com>; Maguire, Bill

<bill maguire@hugheshubbard com>; John N. Poulos <poulos@pllawfirm.com>:
Anthony Almeida <almeida@pllawfirm.com>; Daniella Dalia <ddatia@pllawtirm.com>
Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

Joe:

Our pesition on mediation has been clear and reasonable. SKAF will consider
mediation on a case-by-case basis after good faith efforts on both sides to settle a
particular case through direct negotiations. If, as part of such settlement discussions, a
defendant intends to assert financial hardship or inability to pay, SKAT will consider
those factors but requires financial transparency to make an informed decision, At the
last court conference Judge Kaplan recognized that such transparency would be part of
any settlements, and we have been able to resolve three cases with your clients on that
basis to date. We don’t understand what it means that Mr. Kertelits and Mr. Protass
are willing to provide financials, but only “through a mediator.” Whether in direct
discussions or in mediation, SKAT will need to see the financial documentation for
itself. We can’t advise our client to incur the costs of mediation until after good faith
negotiations have been attempted (which, as noted above, include financial
transparency when ability to pay is at issue} and unless it’s clear to us that we will be

Page 012
te,

receiving the financial documentation directly from you. We need that information in
advance of any mediation in order to come to the mediation table with a reasonabie
starting point.

With respect to the December 21 email below, we do not believe that sweeping
generalizations across your client pool are helpful to resolving particular cases. We
have heard your team on those issues a number of times. Going forward, if we are
going to have settlement discussions, we need to discuss specific facts for particular
claims and defendants.

Regards,
Marc

Marc A. Weinstein | Partner
Chair, White Collar Defense

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marc, weinstein@hugheshubbard.com

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From: Joseph LoPiccolo <lopiccolo@plawfirm.com>

Sent: Wednesday, January 5, 2022 10:02 AM

To: Weinstein, Marc A. <marc.weinstein@hugheshubbard.com>

Cc: Oxford, Nei! <neil.oxfora@hugheshubbard.com>; McGaey, John

<john.mcgoey @hugheshubbard.com>; Maguire, Bill

<bill maguire @hugheshubbard.com>: John N. Poulos <poulos@pllawfirm.com>;
Anthony Almeida <almeida@pllawfirm.com>; Daniella Dalia <ddalia@pllawfirm.com>
Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

CAUTION: This email was sent by someone outside of the Firm.

Marc — following up on the below. As we state below, Mr. Kertelits and Mr. Protass are
interested in continuing settlement talks and are willing to disclose financials but would
like to do it through a mediator. Please let me know if SKAT is still considering that. If
they are, please confirm that responses to discovery are extended while we continue to
try to resolve these cases. Otherwise, we will need to write to Kaplan requesting
mediation.

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Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 14 of 44

Thanks,

Joe

Joseph LoPiccolo | Shareholder

Poulos LoPiceola PC

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From: Daniella Dalia <ddalia@pllawfirm.com>
Sent: Tuesday, December 21, 2021 12:26 PM
To: Weinstein, Marc A. <mare.weinstein@hugheshubbard.com>; Joseph LoPiccola

<lopiccolo@ pllawfirm.com>
Cc: Oxford, Neil <neil.oxford@hugheshubbard.com>; McGoey, John

<john. megoey@hugheshubbard.cam>; Maguire, Bill

<bill maguire@hugheshubbard.com>; John N. Poulos <poulos@pilawfirm.com->:
Anthony Almeida <almeida@ pllawfirm.com>

Subject: Re: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

Mare,

Maybe we need to clarify the issues - inability to pay versus financial hardship.
As to certain defendants, financial hardship is the issue, i.e., these people are not
able to pay anywhere near what SKAT wants from them or even what they
received. As with most of our clients, there is no way that many of these people
wiH ever be able to pay back what they received. Others will never be able to
settle for anywhere near what your client wishes to "recoup." They are not
wealthy people. Most of our clients are everyday professionals - not extremely
weaithy bankers with enormous reserves to endure litigation of this magnitude.
Our clients realize that should they continue litigation that they will most certainly
be in financial hardship without any ability to afford the basics. They are
choosing settlement to avoid insolvency. These are not the people at the Rosilene
Anderson level. These are the people that are like us - professionals that must
work for a living and simply cannot afford to be in this type of litigation
financially, mentally, or physically.

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For example, one of our clients chosen for a bellwether had recent heart attack
and was just diagnosed with colon cancer. He's not even 50 years old and is the
sole earner for his family. He has no assets. He has a paycheck. We are preparing
a settlement proposal because he will be dead from the stress before the summary
judgment motions are even briefed. I promise, there is no hidden

type with a billion-dollar hedge fund amongst this group.

You said that you had no desire to make anyone go broke. These people will go
broke if they continue and frankly, they are scared - not because they did wrong
or believe they are liable to SKAT. They know they cannot withstand the
litigation and fear for their families’ futures. We are pushing for transparency to
those that want settlement, but they are petrified. There is no other way to put it.
Continuing against these people to end up with a worthless judgment will likely
not satisfy your client, either.

Do you have time for a quick call? I hate the expression "to move the needle,"
but maybe a frank discussion will do just that. Let us know.

Regards,
Daniella

From: Weinstein, Marc A. <marc.weinstein@hugheshubbard.com>
Sent: Tuesday, December 21, 2021 11:02 AM

To: Joseph LoPiccolo <topiccolo@pllawfirm.com>
Cc: Oxford, Neil <neil.oxford@hugheshubbard.com>; McGoey, John

<john. mcsoey@hugheshubbard.com>; Maguire, Bill

<bill maguire@hugheshubbared com>; Daniella Dalia <ddalia@pllawfirm.com>; John N.
Poulos <poulos@pollawfirm.cam>; Anthony Almeida <almeida@ pllawfirm.com>

Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

Joe, as we have stated all along, if any defendant’s settlement position is driven, at
least in part, on a claimed inability to pay a larger amount, then SKAT requires
transparency on the financial condition of that defendant in order to assess the
settlement offer and potentially resolve the case through settlement. That will be
necessary whether we negotiate directly, as we have done successfully with a number
of your clients, or through mediation. SKAT will nat be able to settle any case involving
a claimed inability to pay by accepting representations of a mediator without direct
access to the underlying financial information. In order to make a potential mediation
process productive, we need that information in advance.

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Chair, White Collar Defense

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marc.weinstein@hugheshubbard.com

Page 015
Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 16 of 44

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From: Joseph LoPiccolo <lopiccolo@ pllawfirm.com>
Sent: Monday, December 20, 2021 10:52 PM
To: Weinstein, Marc A. <marc.weinstein@hugheshubbard.com>

Ce: Oxford, Neil <neiLoxford@hugheshubbard. cam>; McGoey, John

<john.mcgoey@hugheshubbard.cam>; Maguire, Bill

<bill maguire@hugheshubbard com>; Daniella Dalia <dcalia@pllawfirm.com>; John N.
Poulos <poulos@pllawfirm.com>; Anthony Almeida <aimeida@ pilawfirm.com>
Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

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5 NS confuses

because on our fast call you said we were at a place with Protass and Kertelits where it
made sense to move to mediation. In fact, SKAT didn’t even counter Protass’s latest
offer. You simply said we should just go to mediation because we are so far apart.
They would be willing to share financials with the mediator, which | think would be a
very productive way to move forward in this situation. And we wouldn’t have to wait
until the actual day of mediation. We can share financials with the mediator well in
advance of the actual mediation. Then the mediator can have some preliminary calls
with both sides in advance of the mediation regarding financials and any other issue.

Plus, like | said, | suspect we will need a mediator for others. So, why not get a
mediator set up now who we can send cases to when necessary?

Joseph LoPiccolo [ Shareholder

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Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 17 of 44

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From: Weinstein, Marc A. <marc.weinstein@hugheshubbard.com>

Sent: Monday, December 20, 2021 9:29 PM

To: Joseph LoPiccolo <iopiccolo@ollawfirm.cam>

Cc: Oxfard, Neil <neiLoxford@hugheshubbard.com>; McGoey, Jahn

<john.mcgoey @hugheshubbard com>; Maguire, Bil

<bill maguire@hugheshubbard.com>; Daniella Dalia <ddalia@pllawfirm.com>; John N.
Poulos <poulos@pllawfirm.com>; Anthony Almeida <almeida@ pllawfirm.com>
Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

Joe,

Before we can determine whether this is the appropriate stage for mediation, we need
to understand whether Mr. Protass or Mr. Kertelits is claiming an inability to pay asa
factor in rejecting SKAT’s last settlement offer. To the extent either is claiming an
inability to pay as a factor, we need documentation of his financial condition. Without
such documentation, or confirmation that inability to pay is not a factor in the
settlement discussions, mediation will not be productive.

Regards,
Mare

Marc A. Weinstein | Partner
Chair, White Collar Defense

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marc. weinstein@hugheshubbard.com

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From: Joseph LoPiccolo <lopiccolo@ pilawfirm.cam>

Sent: Monday, December 20, 2021 4:57 PM

To: Weinstein, Marc A. <marc.weinstein@hugheshubbard.com>
Cc: Oxford, Neil <neil. oxford@hugheshubbard.com>; McGoey, John
<john. mcgoey@hugheshubbard.com>; Maguire, Bill

<bill. maguire@nhugheshubbard.com>; Daniella Dalia <ddalia@pllawfirm.cam>; John N.

Page_017
Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 18 of 44

Poulos <poulos@ pllawfirm.com>; Anthony Almeida <almeida@pllawfirm.com>
Subject: RE: F.R.E, 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

CAUTION: This email was sent by someone outside of the Firm.

Marc — following up on the request for mediation of the Protass and Kertelits cases.

Joseph LoPiccolo { Shareholder

Poulos LoPiccolo PC

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From: Weinstein, Marc A. <marc.weinstein@hugheshubbard.com>

Sent: Tuesday, December 14, 2021 12:47 PM

To: Joseph LoPiccolo <lopiccolo@pllawlirm.com>

Cc: Oxford, Neil <neil_oxford@hugheshubpard.com>; McGaey, John

<john. mcgoey@hugheshubbard com>; Maguire, Bill

<bill maguire@hugheshubbard.com>; Daniella Dalia <ddalia@pllawfirm.com>; John N.
Poulos <poulos@pllawfirm.com>; Anthony Almeida <aimeida@p|lawfirm.com>
Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

Joe, that’s fine.

Mare A. Weinstein | Partner
Chair, White Collar Defense

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marc. weinsten@hugheshubbard.com

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Page 018
Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 19 of 44

tansinission, if verificaiion is ie

From: Joseph LoPiccolo <lopiccolo@ pllawtirm.com>

Sent: Tuesday, December 14, 2021 10:40 AM

To: Weinstein, Marc A. <marc.weinstein@hugheshubbard.com>

Ce: Oxford, Neil <neiLoxford@hugheshubbard.cam>; McGoey, John

<john. mcgoey@hugheshubbard.com>; Maguire, Bill

<bill maguire@hugheshubbard.com>; Danielta Dalia <ddalia@pllawfirm.com>; John N.
Poulos <poulos@pllawfirm.com>; Anthony Almeida <almeida@pllawfirm.com>
Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

CAUTION: ‘This email was sent by someone outside of the Firm.

Marc — considering Kertelits and Protass are attempting to settle via a mediation, can
we put them in the group who has until January 10 to respond to interrogatories and
RFAs?

Joseph LoPiccolo | Shareholder

Poulos LoPiecolo PC

311 West 437 Street, Ste 124 | New York, NY 10036

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From: Joseph LoPiccolo

Sent: Monday, December 13, 2021 12:35 PM

To: Weinstein, Marc A. <marc.weinstein@hugheshubbard, com>
Cc: Oxford, Neil <neil.oxford@hugheshubbard.cam>; McGoey, John

<john. megoey@hugheshubbard.com>; Maguire, Bill

Page 019
Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 20 of 44

<biLmaguire@hugheshubbard.com>; Daniella Dalia <ddalia@pllawfirm.com>; John N.
Poulos <poulos@pllawfirm.com>; Anthony Almeida <almeida@pllawtirm.com>
Subject: RE: F.R.£. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

Mare —I confirmed that Kertelits would like to mediate too.
Please let me know when you can,
Thanks,

Joe

Joseph LoPiccolo | Shareholder

Poulos LoPiccalo PC

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From: Joseph LoPiccalo

Sent: Friday, December 10, 2021 4:17 PM

To: Weinstein, Marc A, <marc.weinstein@hugheshubbard.com>
Cc: Oxford, Neil <neiloxford@hugheshubbard.com>; McGoey, John

<john. mczoey@hugheshubbard.com>; Maguire, Bill

<bilL maguire@hugheshubbard.com>; Daniella Dalia <ddalia@pllawfirm.com>; John N.
Poulos <poulos@pllawfirm.com>: Anthony Aimeida <almeida@pllawfirm.com>

Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

Marc — Mitch Protass would like to move to mediation. | may have others, such as Tom
Kertelits, who would also like to participate in mediation. You had mentioned on cur
last call that SKAT is amenable to moving to mediation for these individuals. Can we
start the process of selecting a mediator and determining when that mediator is
available? As | mentioned below, we are recommending Judge Stephen Orlofsky -

https://www, biankrome.com/peaple/stephen-m-orlofsky. We have had a lot of

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Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 21 of 44

success with him in resolving major class actions. We also plan to submit settlement
proposals of others. And its very possible we might need to resort to a mediator to get
the deal done on those others. So, it would be good to have a mediator ready to send
cases to if and when necessary.

Please let me know. Have a great weekend!

Joe

Joseph LoPiccoto | Shareholder

Poulos LoPiccole PC

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From: Weinstein, Mare A. <marc.weinstein@hugheshubbard com>

Sent: Monday, December 6, 2021 3:15 PM

To: Joseph LoPiccolo <lopiccolo@ pllawfirm.com>

Ce: Oxford, Neil <neil.oxtord@hugheshubbard.com>; McGoey, John

<john. mcgoey@hugheshubbard.com>; Maguire, Bill

<bill maguire @hugheshubbare.com>; Daniella Dalia <ddalia@pllawfirm.com>; John N.
Poulos <poulos@pllawfirm.com>; Anthony Almeida <almeida@pllawfirm.com>

Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

Joe, can you chat on Wednesday at 1lam?

Mare A. Weinstein | Partner
Chair, White Collar Defense

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Marc. weinstein@hugheshubbard.com

Page_021
Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 22 of 44

From: Joseph LoPiccolo <lopiccolo@pilawfirm,com>

Sent: Monday, December 6, 2021 10:28 AM

To: Weinstein, Marc A. <marc. weinstein@hugheshubbard. com>

Ce: Oxford, Neil <neilLoxford@hugheshubbard.com>; McGoey, John

<john. mcgoey@hugheshubbard. com>; Maguire, Bill

<bill maguire@hugheshubbard.com>; Daniella Dalia <ddalia@pllawfirm.com>; John N.
Poulos <poulos@pliawfirm.com>; Anthony Aimeida <almeida@ pllawfirm.com>
Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

CAUTION:-This email was sent by someone outside of the Firm.

Marc - following up on the below. Let me know when you have time.

Joseph LoPiccolo | Sharcholder

Powlos LoPiccalo PC

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From: Joseph LoPiccalo

Sent: Wednesday, December 1, 2021 7:47 PM

To: Weinstein, Marc A. <marc.weinstein@hushesnubbard com>
Cc: Oxford, Neil <neiLoxford@hugheshubbard.cam>; McGoey, John
<john.mcgoey@hugheshubbard.com>; Maguire, Bill

<bill maguire@hugheshubbard.com>: Daniella Dalia <ddalia@pllawfrm.cam>; John N.

Page_022
Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 23 of 44

Poulos <poulos@pliawfirm.com>; Anthony Almeida <al meida@pllawfirm.com>
Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

Marc — thanks for the courtesy. Let me know if you have time for a quick call tomorrow
to discuss Protass and Kertelits.

Joseph LoPiccolo {| Sharehoider

Poulos LoPiccolo PC

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From: Weinstein, Marc A. <marc.weinstein @hugheshubbard.com>
Sent: Wednesday, December 1, 2021 4:37 PM

Ta: Joseph LoPiccolo <lopiccolo@pllawfirm.com>

Ce: Oxford, Neil <neiLoxford@hugheshubbard com>; McGoey, John

<john. mcgoey@hugheshubbard, com>; Maguire, Bill
<biil. maguire@hugheshubhard.com>; Daniella Dalia <ddalia@pllawfirm.com>; John N.

Poulos <poulos@pilawfirm.com>; Anthony Almeida <almeida@pllawfirm.com>
Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

Joe:
We are amenable to the following:

For Driscoll, Vergari, and LaChance, we will extend indefinitely to permit settlement
discussions to continue. For Protass and Kertelits, we do not think extending
indefinitely makes sense, given the state of settlement discussions with them, but we
will extend their deadlines two weeks. For Lehman and Bradiey we will extend for two
weeks. And for those who are putting together settlement offers we will extend to
January 10.

Regards,

Page_023
Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 24 of 44

Mare

Marc A. Weinstein | Partner
Chair, White Collar Defense

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From: Joseph LaPiccolo <lepiccolo@pllawfirm.com>

Sent: Tuesday, November 30, 2021 4:18 PM

To: Weinstein, Marc A. <marc.weinstein@hugheshubbard.com>
Cc: Oxford, Neil <neil.oxford@hugheshubbard. com>; McGoey, John

<john. mcgoey@hugheshubbard.com>; Maguire, Bill
<bill maguire@hugheshubbard.com>; Daniella Dalia <ddalia@pllawfirm.com>; John N.

Poulos <poulos@pllawfirm.com>; Anthony Almeida <almeida@ollawfirm.com>
Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

CAUTION: This email was sent by someone outside of the Firm.

Marc — I'd also like to confirm that for thase in settlement negotiations, SKAT has
agreed to extend the time to respond to interrogatories and RFAs until some time after
settiement negotiations should the case(s) not result in a settlement. Currently that
would apply to:

Driscoll
LaChance
Protass
Vergari
Kertelits

Others are in the process of putting together settlement offers. In fact, we plan to
submit a settlement offer on behalf of Svetlin Petkov today or tomorrow. Thus, we
are requesting an extension of time to respond to interrogatories and requests for
admission to give our clients time to put together settlement offers who are not
already in settlement discussions. I'd say 30 days, but with the holidays coming up, can
we get until mid-January? And with the understanding that Roger Lehman’s and
Doston Bradley's cases may very well get selected as bellwethers for summary

Page _ 024
Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 25 of 44

judgment, can we get just a ?-week extension for their respanses.
Thanks,

Joe

Joseph LoPiccolo | Shareholder

Poulos LoPiccole PC

311 West 43° Street, Ste 124 | New York, NY 10036

Office +1 646.931.0011 | Fax +1 732.358.0780

Toll Free +4 800.757.2304 | lopiccolo@pilawfirm.com | www.pllawfirm.com

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From: Joseph LoPiccalo

Sent: Monday, November 29, 2021 10:54 PM

To: Weinstein, Marc A. <marc.weinstein@hugheshubbard.com>
Cc: Oxford, Neil <neiLoxford@hugheshubbard.com>; McGoey, John

<john. mceoey @hugheshubbard. com>; Maguire, Bill
<bill maguire@hugheshubbard.cam>; Daniella Dalia <ddalia@pllawfirm.com>; John N.

Poulos <poulos@oliawfirm.com>; Anthony Almeida <almeida@pilawfirm.com>
Subject: Re: F.R.£. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch Protass

Thanks for the update, Marc. At this point Mr. and Mrs. Protass do not want to share
their financials.

Mr. Kertelits would still like to use the mediation process to attempt to resolve his case.

If anything changes, Vil fet you know.

Joseph LoPiccolo { Shareholder

Poulos LoPiccolo PC
311 W. 43 Street, 11 Floor, Ste 124 _}| New York, NY 10036

Page 025
Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 26 of 44

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Toil Free +1 800.757.2304 | lopiccolo@pllawfirm.com |www.pllawfirm.com

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On Nov 29, 2021, at 6:10 PM, Weinstein, Marc A.
<marc.weinstein@hugheshubbard.com> wrote:

Joe:

We are having internal discussions an the pending settlement offers this
week. Are you able to provide financial documentation for the Protasses
this week? Also, are you planning to make a counter-offer on behalf of
Mr. Kertelits?

Thanks,
Marc

Marc A. Weinstein | Partner
Chair, White Collar Defense

Hughes Hubbard & Reed LLP
One Battery Park Plaza, 17th floor | New York | NY 10004-1482
Office +1 {212} 837-6460 | Cell +1 (646) 537-5750 | Fax +4 (212) 299-6450

marc. weinstein@hugheshubbard.com

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From: Joseph LoPiccolo <lopiccolo@pliawfirm.com>

Page 026
Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 27 of 44

Sent: Wednesday, November 17, 2021 4:27 PM

To: Weinstein, Marc A. <marc.weinstein@hugheshubbard.com>

Ce: Oxford, Neil <neil.oxford@hugheshubbard.com>; McGoey, John
<john.mcgoey@hugheshubbard.com>; Maguire, Bill

<bill maguire@hueheshubbard com>; Daniella Datia
<ddalia@pilawiirm.com>; John N. Poulos <poulos@pllawfirm.cam>;
Anthony Almeida <almeida@pilawfirm.com>

Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Mitch
Protass

s email.was sent by someone outside of the Firm.

Marc,

Following up on the below request to mediate Mr. Protass’s and Mr.
Kertelitis’s cases. Moreover, to keep the ball moving while we attempt to
mediate, Mr. and Mrs. Protass, on behalf of Mr. Protass’s cases and any
potential claims against Mrs. Protass,

Please let me know if your cHents are amenable. And please let me know
one way or the other if SKAT is willing to start the mediation process. As
we have mentioned, we do not want to waste time and money on
litigation if we can resolve cases. The litigation schedule is very aggressive
over the next couple of months and my clients will not be able to
withstand the costs of litigation and settlement.

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Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 28 of 44

Thanks,

Joe

Joseph LoPiccoto | Shareholder

Poulos LoPiccolo PC

311 West 43" Street, Ste 124 | New York, NY 10036

Office +1 646.931.0011 | Fax +1 732.358.0180

Toll Free +4 800.757.2304 | lopiccolo@pllawfirm.com ! www.pllawfirm.cam

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From: Joseph LoPiccolo

Sent: Monday, November 15, 2021 3:34 PM

To: Weinstein, Marc A. <marc.weinstein @hugheshubbard. com>

Ce: Oxford, Neil <neiLoxford@hugheshubbard.com>; McGoey, John
<john.mcgoey @hugheshubbard,.com>; Maguire, Bill

<bilL maguire @hugheshubbard.com>; Daniella Dalia
<ddalia@pllawfirm.com>; John N. Poulos <poulos@nllawfirm.com>:
Anthony Almeida <almeida@ pllawfirm.com>

Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - Jahn
LaChance

Regarding Jepsen, as far as | arn aware, he is not a defendant in any
action. And as mentioned below, Mr. Protass and Mr. Kertelits would like
to continue settlement negotiations but with a mediator. Let me know if
SKAT is amendabie to mediating their cases using Judge Orlofsky. And of
course if any other clients would like to mediate, we’d hope SKAT would
have no objection to them joining the mediation process too.

Also, | appreciate the courtesy of extending time to respond to any

interrogatories and requests for admission while parties try to resolve
their cases.

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Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 29 of 44

Thanks,

Joe

Joseph LoPiccolo | Shareholder

Poulos LoPiccalu PC

314 West 43 Street, Ste 124 | New York, NY 10036

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From: Anthony Almeida <almeida@ ollawfirm.com>

Sent: Monday, November 15, 20274 3:15 PM

Ta: Weinstein, Marc A. <marc.weinstein@hugheshubbard.com>; Joseph
LoPiccolo <[oniccolo@pllawftirm.com>

Ce: Oxford, Neil <neiLoxford@hugheshubkard. com>; McGoey, John

<john. mcgoey@hugheshubbard. com>; Maguire, Biil
<bill. maguire@hugheshubbard,.com>; Daniella Dalia

<ddalia@pilawfirm.com>; John N. Poulos <poulos@ollawfirm.com>
Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - John
LaChance

F.R.E. 408 Inadmissible Communication

Marc,

Regarding Sean Driscoll:

Page 029
Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 30 of 44

Let’s keep this momentum going and try to reach a resolution soon.

Thank you,

Anthony S$. Almeida / Litigation Counsel
Poulos LoPiccolo PC

1305 South Roller Rd. { Ocean, NJ 07712
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Toll Free +1 800.757.2304 | almeida@pllawtinn.com

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Sent: Monday, November 15, 2021 2:15 PM

To: Joseph LoPiccole <lopiccolo@pllawtirm.com>

Cc: Oxford, Neil <neil.oxford@hugheshubbard.com>; McGoey, John
<john.mcgoey@husheshubbard.com>; Maguire, Bill

<bill maguire@hugheshubbard.com>; Daniella Dalia
<ddalia@pllawfirm.com>; John N. Poulos <poulos@pilawfirm.com>;
Anthony Almeida <almeida@pllawfirm.com>

Subject: RE: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - John
LaChance

Joe:

As a reminder, we have not received any response to our October 14
settlement communications for three of your six clients: Mr. Jepsen, Mr.

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Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 31 of 44

Kertelts, and Mr. Protass. With respect to Mr. Driscoll, Mr. Vergari, and
Mr. LaChance, we are reviewing the financial information you provided
and performing our own diligence on it. To that end, for Mr. Driscoll, can

you let us know the following:

With respect to any of your clients fram whom we've received current
financial information and/or a settlement counter-offer, we are willing to
extend the time by which they would otherwise have to serve responses
to the interrogatories and requests for admission so that they do not
need to spend resources on those responses while we pursue
settlements. We can do so with Mr. Kertelits and Mr. Protass as well if
they intend to make a counter-offer to our October 14 settlement offer.

Regards,
Mare

Mare A. Weinstein | Partner
Chair, White Collar Defense

Hughes Hubbard & Reed LLP
One Battery Park Plaza, 17th floor | New York | NY 10004-1482
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marc. weinstein@hugheshubbard.com

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From: Joseph LoPiccolo <iopiccol lawfirm.com>
Sent: Friday, November 12, 2021 7:47 PM
To: Weinstein, Marc A. <mare.weinstein@hugheshubbard.com>

Page_031
Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 32 of 44

Cc: Oxford, Neil <neiloxford@hugheshubbard.com>; McGoey, John
<john. mcgoey@hugheshubbard.com>; Maguire, Bill

<bill. uire@hugheshubbard.com>; Daniella Dalia
<ddalia@pllawtirm.com>; John N. Poulos <poulos@ollawfirm.com>;
Anthony Almeida <almeida@pllawfirm.com>

Subject: RE: F.R.£. 408 INADMISSIBLE COMMUNICATION - SKAT - John
LaChance

CAUTION: This email. was sent by someone outside of the Firm.

Mare — it doesn’t look like trying to resolve these cases between us is
working out. We sent you Sean Driscoil’s financials as you requested
almost 3 weeks ago to determine if he was eligible for a Rosilene
Anderson type settlement, followed up multiple times and we haven't
heard anything. We also are awaiting a response from SKAT as to
whether they will offer Mr. Vergari the same structure that was offered to
Ms. Anderson. And, per the below, Mr. LaChance’s counteroffer is also
outstanding. Sut the amount of time it is taking for a response as to
whether SKAT is simply willing to offer Mr. Driscoll and Mr. Vergari the
same structure that was offered to Ms. Anderson doesn’t really bode well
for response time for others. As | mentioned, the whole reason our
clients would Jike to make a good faith effort to settle is because they
want to stop the bleeding of the cost of litigation. As you are well aware,
they are faced with having to respond to interrogatories and requests for
admission SKAT recently served on us as well as ail of the impending
summary judgment deadlines. Thus, an expeditious good faith attempt to
settle here is critical as | made clear an October 5.

Therefore, we are requesting mediation. In particular, Mr. Protass and
Mr. Kertelits would like to move forward with mediation. They have been
attempting to settle for a year now and SKAT has provided no indication
that they will negotiate over the course of a reasonable time frame unless
they are faced with some sort of impending deadline (i.¢., not settling
with Rosilene Anderson until the eve of trial). And to the extent any
other case we’ve been attempting to settle is not resolved soon, we'd like
to add them to the mediation process too.

For mediation, we are proposing Judge Stephen Orlofsky -
https://www.blankrome.com/pecple/stephen-m-orlalsky. We have had a
lot of success with him in resolving major class actions. If we do not hear
from you by Monday, per Judge Kaplan’s instructions to me at the
October 5 conference, we will write to him, summarizing our attempt to
resolve cases to date and request that he Order mediation.

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Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 33 of 44

Have a good weekend.

Joe

Joseph LePiccolo | Sharcholder

Poulos LoPiceolo PC

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Toll Free +1 800.757.2304 | lopiccolo@pllawfirm.cam | www.pllawfirm.com

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Fram: Joseph LoPiccolo

Sent: Tuesday, November 9, 2021 2:26 PM

To: Weinstein, Marc A. <marc.weinstein@nugheshubbard. com>
Cc: Oxford, Neil <neiLoxford@hugheshubbard.com>; McGoey, John

<john.mcgoey@hugheshubbard.com>; Daniella Dalia
<ddalia@pllawfirm.com>; John N. Poulos <poulos@ pllawfirm.com>;

Anthony Almeida <almeida@pllawfirm.com>
Subject: F.R.E. 408 INADMISSIBLE COMMUNICATION - SKAT - John
LaChance

£.R.E. 408 Inadmissible Communication

Marc,

| spoke to Mr. Lachance. [I
a | have also attached financial statements supporting

the chart below. This includes his mortgage statements for each home

{both with a 15* and 2nd mortgage}. Moreover, please note, he currently
has 2 kids in college which adds significantly to his monthly expenses.

Please let me know if SKAT is amenable to resolving this matter for

Page_033
Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 34 of 44

Happy to discuss.

Best,

foe

Joseph LoPiccolo | Sharcholder

Poulos LoPiccolo PC

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From: Weinstein, Marc A. <marc.weinstein@hugheshubbard com>
Sent: Tuesday, November 9, 2021 11:44 AM

To: Joseph LoPiccolo <lopiccolo@pllawfirm.com>

Cc: Oxford, Nei! <neil.oxford@hugheshubbard.com>; McGoey, John
<john megoey@hugheshubbard.com>; Daniella Dalia
<ddalia@pllawfirm.com>; John N. Poulos <poulos@ pllawtirm.com>:
Anthony Almeida <almeida@pllawfinn.com>

Subject: RE: SKAT - settlement discussions with
Kertelits/LaChance/Protass

Thanks Joe. As mentioned on the call, we will need a counteroffer from
you for Mr. Lachance. In addition, our client will need the documents
requested concerning the financial information below. While the
summary is helpful to see up front, ultimately our client needs to make
the decisions based on documentation rather than just a representation
fram Mr. LaChance.

Regards,

Page 034
Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 35 of 44

Mare

Marc A. Weinstein [ Partner
Chair, White Collar Defense

Hughes Hubbard & Reed LLP
One Battery Park Plaza, 17th fioor| New York | NY 10004-1482
Office +1 (212) 837-6460 | Cell +4 (646) 537-5750 | Fax +1 (212) 299-6460

marc.weinstein@hugheshubbard.com

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Fram: Joseph LoPiccolo <joniccolo@pllawfirm.com>

Sent: Friday, November 5, 2021 10:54 AM

Ta: Weinstein, Marc A. <marc.weinstein@hugheshubbard.com>
Ce: Oxford, Neil <neiLoxford@hugheshubbard.com>; McGoey, John
<john. mcgoey@hugheshubbard.com>; Daniella Dalia
<ddalia@pllawfirm.com>; John N. Poulos <poulos@ pllawfirm.com>;
Anthony Aimeida <almeida@pliawfirm.com>

Subject: RE: SKAT - settlement discussions with
Kertelits/LaChance/Protass

CAUTION: 1s sent by somvieone outside of the Firm. °°"

Marc —John Lachance put together this chart showing an overview of his
financial picture:

Page_035
iprttin,

Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 36 of 44

i Let me know if this will facilitate negotiations towards a
number that is more reasonable based on Mr. LaChance’s financial

situation,

We'd really like to keep this process moving for Mr. LaChance and others.
As | said, litigation dates are coming up fast and you just served us with
those Rogs and Requests for Admissions. Thus, i’d like to know as soon as
possible if we can resalve these cases as I'd rather not have to spend
more time, and my clients’ money, on litigation if we can ultimately get
these cases resolved.

Thanks,

Joe

Joseph LoPiccolo | Shareholder

Poulos LoPiecolo PC

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Office ++ 646.931.0011 | Fax +1 732.358.0180

Toll Free +1 800.757.2304 | lopiccoio@pllawfirn.com | www.pllawfirm.com

New Jersey Office
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Page 036
pin,

Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 37 of 44

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From: Weinstein, Marc A. <marc.weinstein@hugheshubbard com>
Sent: Wednesday, November 3, 2021 10:56 AM

To: Joseph LoPiccolo <lopiccolo@pllawfirm.cam>

Ce: Oxford, Neil <neil.oxford@hugheshubbard.com>; McGoey, John

<john. mcgoey@hugheshubbard.com>: Daniella Dalia
<ddalia@pllawfirm.com>; John N. Poulos <poulos@pillawfirm.com>

Subject: RE: SKAT - settlement discussions with
Kertelits/LaChance/Protass

Joe, | just sent a Teams invite for our call. | can forward that to Daniella
and/or John if they are going to join.

Marc A. Weinstein | Partner
Chair, While Collar Defense

Hughes Hubbard & Reed LLP
One Battery Park Plaza, 47th floor | New York | NY 10004-1482
Office #1 (212) 837-6460 | Cell +7 (646) 537-5750 | Fax +1 (212) 299-6460

marc. weinstein@bhugheshubbard.com

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From: Joseph LoPiccolo <lopiccolo@pilawfirm.com>

Sent: Tuesday, November 2, 2021 3:56 PM

To: Weinstein, Marc A. <marc.weinstein@hugheshubbard.com>
Ce: Oxford, Neil <neiLoxford@hugheshubbard. cam>; McGoey, John
<john. mcgoey@hugheshubbard.com>; Daniella Dalia
<ddalia@pllawfirm.cam>; John N. Poulos <poulos@ pllawfirm.com>
Subject: RE: SKAT - settlement discussions with

Page_037
Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 38 of 44

Kertelits/LaChance/Protass

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Ok — call you then.

Joseph LoPiccolo | Sharcholder

Poulos LoPiceolo PC

311 West 43" Street, Ste 124 | New York, NY 10036

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From: Weinstein, Marc A. <marc.weinstel u d.com>
Sent: Tuesday, November 2, 2021 3:52 PM

To: Joseph LoPiccolo <lopiccolo@pllawfirm.com>
Cc: Oxford, Neil <neiLoxford@hugheshubbard.com>; McGoey, John

<john.mcgoey@hugheshubbard.com>; Daniella Dafia
<ddalia@pllawfirm.com>; John N. Poulos <poulos@pllawfirm.com>
Subject: RE: SKAT - settlement discussions with
Kertelits/LaChance/Protass

Sure thing.

Marc A. Weinstein | Partner
Chair, White Collar Defense

Hughes Hubbard & Reed LLP
One Battery Park Plaza, 17th floor | New York | NY 10004-1482
Office +1. (212) 837-6460 | Cell #1 (648) 537-5750 | Fax +1 (212) 299-6460

mare. weinstein@hugheshubbard.com

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Page _ 038
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From: Joseph LoPiccoio <lopiccolio@ pllawfirm.com>

Sent: Tuesday, November 2, 2021 3:51 PM

To: Weinstein, Marc A. <mare.weinstein@hugheshubbard.com>
Cc: Oxford, Neil <neiLoxford@hugheshubbard. com>; McGoey, John
<john.mcgoey@hugheshubbard.com>; Daniella Dalia
<ddalia@pllawfirm.com>; John N. Poulos <poulos@pllawfirm.com>

Subject: RE: SKAT - settlement discussions with
Kertelits/LaChance/Protass

CAUTION: This email iéide of the Firm:

Marc — we still on for tomorrow at 11 to discuss?

Shareholder

Joseph LoPiccolo

Poulos LoPiccolo PC

314 West 43¢ Street, Ste 124 | New York, NY 10036

Office +1 646.931.0011 | Fax +4 732.358.0180

Toll Free +1 800.757.2304 | lopiccolo@pllawtirm.com | www,pllawfirm.coem

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1305 South Roller Rd. | Ocean, NJ 07712
Office +1 732.757.0165] Direct +1 732.837.3435 | Fax +1 732.358.0180

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From: Joseph LoPiccofo

Sent: Monday, October 25, 2021 8:12 AM

To: Weinstein, Marc A. <marc.weinstein@hugheshubbard com>
Cc: Oxford, Neil <neil.oxford@hugneshubbard.com>; McGaey, John
<john.mcgoey @hugheshubbard.com>; Daniella Dalia
<ddalia@pllawfirm.com>: John N. Poulos <poulos@pllawfirn.com>

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Subject: Re: SKAT - settlement discussions with
Kertelits/LaChance/Protass

That works.
Joseph LoPiccolo | Shareholder

Poulos LoPiccolo PC

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On Oct 25, 2021, at 8:04 AM, Weinstein, Marc A.
<marc.weinstein@hugheshubbard.com> wrote:

How is 11am on Nov. 3?

Mare A. Weinstein | Partner
Chair, White Collar Defense

Hughes Hubbard & Reed LLP
One Battery Park Plaza, 17th floor | New York | NY 10004-1482
Office +1 (212) 837-6460 | Cell +1 (646) 537-5750 | Fax +1 (21?) 299-6460

narc.weinstein@hugheshubbard.com

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Case 1:18-md-02865-LAK Document 760-2 Filed 03/29/22 Page 41 of 44

From: Joseph LoPiccolo <lopiccolo@pllawfirm. com>
Sent: Monday, October 25, 2021 7:55AM

To: Weinstein, Marc A,
<marc.weinstein@hugheshubbard com>

Cc: Oxford, Neil <neiLoxford@hugheshubbard.com>;
McGoey, John <joha. mcgoey @hugheshubbard.com>;
Daniella Dalia <ddalia@pllawfirm.com>; John N. Poutos
<pou awlirm.com>

Subject: Re: SKAT - settlement discussions with
Kertelits/LaChance/Protass

nt by someone outside: of the Firm. =~

Sure - let’s shoot for early next week.
Let me know what works for you.

Joseph LoPiccolo / Shareholder

Poulos LoPiccolo PC

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10036

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On Oct 24, 2021, at 10:11 AM, Weinstein, Marc
A. <mare. weinstein@hugheshubbard. com>
wrote:

Joe, I'm in trial all of this week. Can we pick a
time early the following week?

Marc A. Weinstein | Partner
Chair, White Collar Defense

Hughes Hubbard & Reed LLP

One Battery Park Plaza, 17th floor] New York | NY 10004-1482
Office +1 (272) 837- | Cell +1 (646) 537 | Fax +1 (272) 299-
6460 5750 8460

marc.weinstein@hugqheshubbard.com

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From: Joseph LoPiccolo

<lopiccolo@ pllawfirm.com>

Sent: Friday, October 22, 2021 4:58 PM
To: Weinstein, Marc A.

<mare.weinstein@hugheshubbard.com>
Ce: Oxford, Neil

<neil.oxford@hugheshubbard.com>; McGaey,
John <john.mcgoey @hugheshubbard.com>;
Daniella Dalia <ddalia@pllawfirm.com>; John
N. Poulos <poulos@pllawfirm.com>

Subject: RE: SKAT - settlement discussions with
Kertelits/LaChance/Protass

CAUTION: This email w:
of the Firm.

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Marc — let me know when you are available to
discuss the offers to these individuals.

Thanks,

Joe

Joseph LoPiccolo | Shareholder

Poulos LoPiccolo PC

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From: Weinstein, Marc A.

<marc. weinstein@hugheshubbard. com>
Sent: Thursday, October 14, 2021 9:04 AM
To: Joseph LoPiccelo
<lopiccolo@pllawfirm.com>; Daniella Dalia
<ddalia@pllawfirrn. com>

Cc: Oxford, Neil
<neiLoxford@hugheshubbard.com>; McGoey,
John <john.mcgoey@hugheshubbard.com>
Subject: SKAT - settlement discussions with
Kertelits/LaChance/Protass

Joe and Daniella:

With respect to the settlement offers of
Thomas Kertelits, John LaChance, and Mitchell

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Protass, as noted previously, SKAT cannot

accept their offers.

Regards,
Marc

Marc A. Weinstein | Partner
Chair, White Collar Defense

Hughes Hubbard & Reed LLP

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Office +1 (212) 837. | Cell +1 (646) 537- | Fax +4(212) 299-
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